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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA

              v.                            No. 19 CR 669

 GREGG SMITH,                               Judge Edmond E. Chang
 MICHAEL NOWAK, and
 CHRISTOPHER JORDAN

              Defendants.

                 UNOPPOSED MOTION FOR ENTRY OF
              PROTECTIVE ORDER GOVERNING DISCOVERY

      Pursuant to Federal Rule of Criminal Procedure 16(d), the United States of

America, through undersigned counsel, and without objection from any of the

defendants, moves for the entry of a protective order, and in support thereof states as

follows:

      1.     The indictment in this case charges all three defendants with conspiracy

to conduct or participate in an enterprise engaged in a pattern of racketeering

activity, in violation of Title 18, United States Code, Section 1962(d); conspiracy to

commit price manipulation, bank fraud, wire fraud affecting a financial institution,

commodities fraud, and spoofing, in violation of Title 18, United States Code, Section

371; bank fraud, in violation of Title 18, United States Code, Section 1344(1); and

wire fraud affecting a financial institution, in violation of Title 18, United States

Code, Section 1343. The indictment also charges defendants Smith and Nowak with

attempted price manipulation, in violation of Title 7, United States Code, Section

13(a)(2); commodities fraud, in violation of Title 18, United States Code, Section
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1348(1); and spoofing, in violation of Title 7, United States Code, Sections 6c(a)(5)(C)

and 13(a)(2).

      2.        The discovery to be provided by the government in this case includes

sensitive information, whose unrestricted dissemination could adversely affect law

enforcement interests and the privacy interests of third parties.

      3.        The government has conferred with counsel for the defendants

regarding the proposed protective order, and defense counsel for each defendant

agrees to the protective order proposed by the government.

      WHEREFORE, the government respectfully moves this Court to enter the

proposed protective order.

Dated: September 26, 2019

                                        Respectfully submitted,

                                        ROBERT ZINK
                                        Chief, Fraud Section
                                        Criminal Division
                                        U.S. Department of Justice

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